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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

United States of America )
v. ) ;
SANJAR JAMILOV, ) Case No. ee 2S- M) -] ]2-A AS
aka "Jerry Braun"
)
- pened )
~ Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of __ November 2022 and April 2023 inthe countyof Pinellas in the
Middle _ District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 371 Conspiracy to submit false voter registration applications

This criminal complaint is based on these facts:

See attached affidavit.

@ Continued on the attached sheet.
TY de 's ane

_Damien Nagle Kraebel, US Postal Inspector, USPIS _

Printed name and title

Sworn to before me over the telephone or other reliable electronic means and signed by me
pursuant to Fed. R. Crim. P. 4.1 and 4(d).

Date: Soar Si ‘ LoUs Fpyricdka. yl Sse
= Judge's signature

City and state; Tampa, FL Amanda Arnold Sansone, U.S.M.J.

a Printed name and title

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AFFIDAVIT IN SUPPORT OF
A CRIMINAL COMPLAINT

I, Damien Nagle Kraebel, being duly sworn, depose and state the following:
INTRODUCTION

1. Iam a Postal Inspector with the United States Postal Inspection Service
(“USPIS”) and have been since 2015. During this time, I have been personally
involved in a wide range of criminal investigations. I investigate, make arrests, and
serve warrants for offenses with a nexus to the US Mail. I am currently assigned as a
Postal Inspector at the Tampa Field Office in Tampa, Florida. In 2015, I completed
a twelve-week residential Postal Inspector Basic Training Program at the USPIS
Career Development Unit in Potomac, Maryland, and I have conducted thousands
of hours of investigations using a variety of investigative techniques. I have received
numerous additional trainings, many concerning fraud investigations. | have
assisted in the execution of numerous search warrants, including residential search
warrants, resulting in the seizure of electronics, and other forms of evidence. I have
been a licensed attorney in the State of Florida since 2003 and worked as an
Assistant State Attorney in Clearwater, Florida prior to my current position.

2. I submit this affidavit in support of a criminal complaint charging
DMITRY SHUSHLEBIN and SANJAR JAMILOV with conspiring to submit false
voter registration applications, in violation of 18 U.S.C. § 371 and 52 U.S.C.

§§ 20511(2)(A) and 10307(c).
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3. The statements contained in this affidavit come from my personal
observations, my training and experience, information obtained from both
government and public records databases, review of records and documents, and
information obtained from other agents and witnesses. This affidavit is intended to
show merely that there is sufficient probable cause for the requested complaint and
does not set forth all of my knowledge about this matter. I submit only those facts
believed to be relevant to the determination of probable cause, and this affidavit
should not be construed as a complete statement of all the facts of this investigation.
The dates, times, and amounts discussed herein are approximate. Moreover, where
the content of records and the actions, statements, and conversations of others are
described, they are described in sum and substance and in part, except where
otherwise indicated.

PROBABLE CAUSE

Submission of Fraudulent Voter Registration Applications

4. The Pinellas County Supervisor of Elections (SOE) was responsible for
conducting voter registration for state, federal, and local elections and for
administering all elections in Pinellas County, Florida. In February and March 2023,
the SOE became suspicious of a series of voter registration applications they had
received. Each application had been created online via Florida’s Online Voter
Registration System, which is run by the Florida Department of State (DOS). The
applications were then printed, signed, and mailed to the SOE via the United States

Postal Service (USPS). Each application listed a real residential address in Pinellas

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County but bore the name, date of birth, and social security number of what
appeared to be a fictitious individual. Approximately 132 such applications were
detected by the SOE.

5. These 132 applications were submitted in envelopes with identically
formatted return and address labels. The mailing envelopes in which the SOE
received the applications bore typed return and delivery addresses with an identical
font, format, and alignment, and each delivery address had a misplaced comma in
the same location as well as a lower-case L in the abbreviation for Florida. The
applications themselves were similar in the following ways:

a. None of the applicants have middle names;
b. None of the applicants list a Florida driver’s license or State ID number;
c. The date next to the signature line on many applications follows the
same pattern:
i. periods are used to separate the day, month and year, for
example “02.17.23”;

ii. a zero is used before any single digit; and

iii. only the last two digits of the year are used;
d. nearly all the addresses appear twice within the 132 applications;
e. the same date of birth appears on multiple applications;
f. the last four digits of the purported social security numbers used are

nearly sequential in many instances; and
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g. there are notable similarities in the signatures including, among others,
a line drawn under a signature, a circle drawn around others or, in place
of a signature in script, a printed signature following the pattern of the
first letter of the applicant’s purported first name followed by their last
name.

6. The SOE compared the names to records at the Florida Department of
Highway Safety and Motor Vehicles (DHSMV) and DOS and confirmed that none
of the applicants had ever received driver’s licenses or identification cards in Florida.
The SOE issued rejection letters to each of the voter registration applications.

7. Foster Haugen was a name used on one of the fraudulent voter
registration applications. On March 7, 2023, a man with a Russian accent claiming
to be Foster Haugen—later determined to be SHUSHLEBIN—called the SOE
asking why his voter registration application had been rejected. The SOE official told
the caller they could process the application if he would bring identification to their
office. The caller identification at the time indicated the call originated from 727-999- ©
1227 and showed the caller as “Dyer, Weston.” AT&T phone records confirm this
call and reveal that the account for this phone number listed “Weston Dyer” as the
billing party and “BIY Dima” for user information—both of which are known aliases
for SHUSHLEBIN. The account address was 2185 Logan St, Clearwater, FL 33765,
an address rented by SHUSHLEBIN at the time. Additionally, during a secondary
border inspection on October 17, 2024, SHUSHLEBIN stated that 727-999-1227 was

his cell phone number.
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8. Internet protocol (IP) addresses were captured by the DOS online voter
registration system at the time the applications were created, which are attributed to
the electronic device of the prospective voter. A sample of five IP addresses were
provided by DOS. Records from T-Mobile demonstrate these IP addresses were
found to have been used at the time by a mobile phone account for phone number
323-974-7809. This account was funded by a credit card in the name of JAMILOV,
and the phone number is known to investigators to be used by JAMILOV’s
girlfriend.

9. A preliminary report from the USPIS forensic laboratory concerning
fingerprint analysis of the voter registration applications states that latent fingerprints
found on the applications have been attributed to JAMILOV and others. Thus far,
fingerprints from thirty applications have been identified as belonging to JAMILOV.

10. Investigators determined that many of the 132 fraudulent voter
registration applications had corresponding mail forwards in place with the USPS. A
review of USPS records revealed handwritten change of address requests (COA) for
nearly every voter application. A preliminary comparison of the COAs to the voter
applications suggested that the COAs were submitted a few days to a week prior to
the corresponding voter application being sent to the SOE. Each COA pertained only
to the fictitious person listed on the related voter application and did not appear to
include any of the actual residents of the given address. Of the COAs submitted, each
requested mail be forwarded to one of the following three addresses with the

quantities noted:
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e 13300 S Cleveland Ave, Box 232, Ft. Myers, FL 33907
(approximately 69 COAs) (the “Fort Myers Mailbox”)
° 2185 Logan St, Clearwater, FL 33765 (approximately 17 COAs)
(the “Logan Street Address”)
° 10200 Gandy Blvd N, Apt 1229, St. Petersburg, FL 33702
(approximately 45 COAs) (the “Gandy Blvd Apartment”)
The Fort Myers Mailbox

11. Approximately 69 COAs corresponding to the fraudulent voter
registration applications directed mail to the Fort Myers Mailbox. The evidence
shows that the Fort Myers Mailbox was controlled by SHUSHLEBIN. The Fort
Myers Mailbox is a commercial mail receiving agency (CMRA), often referred to as
a mailbox store, called “Mailbox, Shipping & Communications.” From August 16,
2021 to approximately mid-March 2023, the Fort Myers Mailbox was rented by
“LS.”

12. The investigation revealed that SHUSHLEBIN controlled the Fort
Myers Mailbox. Financial investigation of SHUSHLEBIN revealed that he changed
his credit card statement address to the Fort Myers Mailbox for the statement dated
September 26 to October 25, 2021, which is the month immediately following the
opening of the mailbox. Additionally, SHUSHLEBIN’s credit card usage as early as

July 26, 2021, showed transactions occurring in the Fort Myers area.
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13. | According to records provided by Mailbox, Shipping, and
Communications, the user of the Fort Myers Mailbox requested the store to forward
mail and packages to addresses known to be associated with SHUSHLEBIN. For
example, the records showed packages forwarded from “L.S.” at the Fort Myers
Mailbox to Amaro Dental at the Logan Street Address and Ilia Bzhelichenko at 690
Main St., Box 836, Safety Harbor, FL 34695 (the “Safety Harbor Mailbox”). As
discussed below, the Logan Street Address, the Safety Harbor Mailbox, the company
Amaro Dental, and the identity “Ilia Bzhelichenko” are all known to be used by
SHUSHLEBIN.

14. Onor about December 4, 2024, the Honorable Anthony E. Porcelli
signed four search warrants, authorizing the search of Google, Yahoo, Microsoft,
and Apple iCloud accounts belonging to SHUSHLEBIN and JAMILOV. In
SHUSHLEBIN’s Apple iCloud account, agents located copies of emails between
Person A, the owner of Mailbox, Shipping, and Communications, and the email
address “Office@mailo.one,” which had been used to open the Fort Myers Mailbox.
The correspondence revealed the following.

a. On February 13, 2023, Person A sent an email to office@mailo.one
containing images of change of address confirmations from USPS that
had been received to the Fort Myers Mailbox. The COAs were
addressed to seven individuals at names and addresses that also appear
on false voter registration applications:

1. Joe Howard;
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Reed Moyer;
Steven Powell;
Eugene Nelson;
Tyler Noble;
Fred Russell; and
James Wilcox.

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The email also contained images of two envelopes from Chase addressed

to Moyer and Noble. False voter registrations were submitted in all of these

names, except Moyer. There was no response to the email. Notably,

JAMILOV’s fingerprints were found on the fraudulent voter registration

applications in the names of Powell, Russell, and Wilcox.

b. On February 27, 2023, Person A sent an email to office@mailo.one
containing images of envelopes from the SOE prominently displaying
“Official Election Mail” addressed to the following individuals:

Max Sheppard;
Ethan Cunningham,
Eugene Nelson;
Craig Michael;
Samuel Hickman,
Raphael Emery; and
Seth Archer.

NAM PONE

False voter registrations had been submitted in all of these names as
part of the set of 132 received by SOE in February and March 2023.
Notably, JAMILOV’s fingerprints were found on the fraudulent voter

registration applications in the names of Cunningham and Michael.
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c. On March 3, 2023, SHUSHLEBIN responded, “Please ship my mail to
(the Logan Street Address], recipient Amaro Dental.”
The Logan Street Address

15. Approximately 17 COAs directed mail to the Logan Street Address,
which the evidence revealed was controlled by SHUSHLEBIN. The Logan Street
Address is an office in a building owned by Alba Realty Group LLC. From
November 1, 2022, through approximately April 2023, this office was rented by
“Dyer Rentals LLC.” The individual who signed on behalf of this company was
“Weston Dyer.” Weston Dyer is also a name used on one of the 132 fraudulent voter
registration applications.

16. Weston Dyer is a known alias of SHUSHLEBIN. Dyer signed the
lease in the presence of an Alba Realty agent. In a June 25, 2024, interview, the
realtor identified DHSMV photos of SHUSHLEBIN as Dyer. The realtor also stated
SHUSHLEBIN/Dyer spoke with a Russian accent.

17. SHUSHLEBIN ran a straw company called “Amaro Dental” out of the
Logan Street Address. An application to establish the Fictitious Name “Amaro
Dental” was filed with the State of Florida on February 8, 2023, with a mailing
address of the Logan Street Address. On the filing, the owner was listed as “D.A.”
with a residential address of the Fort Myers Mailbox.

18. Arelated LLC application for “Amaro Dental LLC” was filed on
March 15, 2023, with a principal and mailing address of the Logan Street Address

and a registered agent of “D.A.” at 5333 Swallow Dr, New Port Richey, FL 34652,

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which was also used as the residential address for Weston Dyer on the lease
agreement for the Logan Street Address. An interview with the owner of 5333
Swallow Drive confirmed that neither Weston Dyer nor D.A. lived at that address
since it was acquired by them in 2015.

19. Open-source searches for Amaro Dental revealed a Facebook page. On
August 15, 2024, the Honorable Amanda A. Sansone signed a search warrant
authorizing the search of the Facebook account associated with this page. Results
from that warrant indicate the Facebook page was created and maintained by an
individual of Bangladeshi-origin residing in Europe. The warrant results further
demonstrate that the Facebook page was an online facade only, with a series of posts
made on or about November 26, 2022 intended to make Amaro Dental appear to be
a legitimate dental office with a lengthy business history. For example, on or about
November 26, 2022, several individual posts were created which reference office
closures due to Labor Day, Christmas, and New Year holidays. However, as noted
above, the business was not created until February of 2023. A Google Maps entry for
Amaro Dental at this address includes photos purportedly uploaded by the business
owner that show signs and operating hours for Amaro Dental. Email records
obtained via search warrant demonstrate that these signs were ordered and
purchased by Ilya Yazikov, a known alias of SHUSHLEBIN.

The Gandy Blvd Apartment
20. Approximately 45 of the COAs pertaining to the fraudulent voter

registrations directed mail to be forwarded to the Gandy Blvd Apartment, which is

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where JAMILOV and his girlfriend were residing at the time. Based on open-source
information, DHSMV records and a review of postal business records from that time
period, JAMILOV and his girlfriend were residents of the Gandy Blvd Apartment
from approximately November 2022 thru November 2023.

21. JAMILOV and his girlfriend had a roommate at the Gandy Blvd
Apartment. The roommate voluntarily spoke with investigators. She stated that she
was the only roommate of JAMILOV and his girlfriend at the Gandy Blvd
Apartment. On or about February 11, 2023, the roommate collected the mail for the
apartment, and it included approximately 21 change of address notification letters
from the USPS for various names she did not recognize. She took photographs of
these letters and later comparison revealed that all 21 of the names are from the
fraudulent voter registration applications. The roommate presented these letters to
JAMILOV and his girlfriend and asked if they knew about them. They responded
that they did know about them and stated that there should be more. Notably,
JAMILOV’s fingerprints have been found on voter registration applications
pertaining to at least 5 of the 21 COAs that the roommate photographed.

22. According to the roommate, JAMILOV and his girlfriend told her they
were working with a man from Miami that might offer her a job. They set up an
interview for her and on or about January 5, 2023, all three went to what the
roommate described as a dental office. There the roommate spoke with the man from

Miami. She identified this man in a photo pack as SHUSHLEBIN. When shown

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photos of the Logan Street Address, the roommate believed it to be the building
where she met SHUSHLEBIN.

23. Queries with the Clearwater Police Department located police report
CW23-51307, initiated April 5, 2023, in which SHUSHLEBIN, using the Logan
Street Address, reported that his former employee Sanjar JAMILOV had failed to
return an Apple laptop upon his termination. SHUSHLEBIN reported that
JAMILOV was from Uzbekistan and had been doing data entry for him for the
previous three to four months. He paid JAMILOV via cash and Zelle transfers.
JAMILOV was located by police at the Gandy Blvd Apartment. J AMILOV told
police he did not return the computer because SHUSHLEBIN still owed him money
for work. The Clearwater Police took custody of the computer and returned it to
SHUSHLEBIN.

24. Financial results from Zelle show five payments to Sanjar JAMILOV
between January 5 and February 17, 2023, totaling $2,910. Three payments were
from Dmitry SHUSHLEBIN and two are from Ilya Yazikov. The same Zelle data
show transactions between Ilia Bzhelichenko and Ilya Yazikov as well as between
Ilya Yazikov and Weston Dyer, all three of which are aliases known to be used by
SHUSHLEBIN.

SHUSHLEBIN’s Use of the Bzhelichenko Identity

25. Additionally, a financial investigation has revealed that many of the 132

identities used on the fraudulent voter registration applications have banking and

other financial accounts. For example, Ilya Yazikov and Ilia Bzhelichenko appeared

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to send money via Zelle to at least 11 of the 132 identities used on the fraudulent
applications. The investigation has revealed that SHUSHLEBIN used both of these
identities.

26. One of the 132 fictitious voter registrations submitted to SOE bore the
name Ilia Bzhelichenko, with a date of birth of February 15, 1973, a Social Security
Number ending in -3205, and an email address of iliabzhelichenko@gmail.com. This
email account was the target of a federal search warrant signed by the Honorable
Anthony E. Porcelli on December 4, 2024. Results from the search warrant revealed
iliabzhelichenko@gmail.com was in communication with banking institutions, credit
improvement and monitoring services, U.S. airlines, the USPS, and wireless
communication provider TracFone.

27. Subsequent investigation revealed that the Safety Harbor Mailbox was
rented in Bzhelichenko’s name at a CMRA called Post Office Square. As noted
above, the Safety Harbor Mailbox was one of the locations to which mail was
forwarded from the Fort Myers Mailbox. The Safety Harbor Mailbox was rented in
January 2022 using Anytime Mailbox, a service which allows customers to apply for
a box online. Verification documents submitted online through Anytime Mailbox to
rent the mailbox included a picture of Russian Passport 725414337 in the name of
Ilia Bzhelichenko and a Florida Power and Light bill bearing Bzhelichenko’s name
and service address of 3420 Washington Lane, Hollywood, Florida 33026.

According to Florida Power and Light, the bill was a forgery.

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28. Customs and Border Protection (CBP) has no record of an Ilia
Bzhelichenko ever entering the United States, nor any record of Russian Passport
725414337. However, during a secondary inspection of SHUSHLEBIN conducted
on October 17, 2024, at Denver International Airport, SHUSHLEBIN was found to
be in possession of Russian Passport 725414337 in the name of Ilia Bzhelichenko.
During questioning, SHUSHLEBIN stated that he accidentally took the passport,
which belonged to a friend he was staying with while in Russia.

29. During a June 25, 2024 interview, the owner of Post Office Square
stated Bzhelichenko had visited her store in person on a number of occasions to
collect his mail. She identified DHSMV pictures of Dmitry SHUSHLEBIN as the
individual purporting to be Bzhelichenko. The owner further noted that
SHUSHLEBIN/Bzhelichenko drove an RV and a small gray pickup truck.
SHUSHLEBIN has both an RV and gray midsized pickup truck registered to him in
the state of Florida.

Shushlebin’s Use of the Yazikov Identity

30. On February 12, 2022, a United States Postal Service Form 1583 was
submitted through Anytime Mailbox in the name of Ilya Yazikov, to permit his use
of the Safety Harbor Mailbox. The Form 1583 listed the residence address for
Yazikov as the Fort Myers Mailbox. Proof of identity documents submitted along
with Yazikov’s Form 1583 included Russian Passport 716343263 in the name of Ilya
Yazikov and Florida Driver License Y458637795580 also in the name of Ilya

Yazikov.

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31. CBP has no record of an Ilia Yazikov ever entering the United States,
nor any record of Russian Passport 716343263. Florida DHSMV has no record of an
Ilia Yazikov or Florida Driver License Y458637795580.

32. Financial investigation into Yazikov revealed that checks from Bank of
America Account ending in -8036 in the name of Ilia Yazikov were used to pay rent
to Alba Realty for use of the Amaro Dental Office at the Logan Street Address,
which, as explained above, was rented by SHUSHLEBIN using the alias “Weston
Dyer.” A check from the account, dated January 31, 2023, was signed “Weston
Dyer.” An additional check, dated March 10, 2023, was written as “Pay To The
Order Of Weston Dyer.”

33. Onor about February 20, 2023, Ilya Yazikov signed a lease for the
home at 2532 Sandy Cay, West Palm Beach, FL 33411. Yazikov documented his
email and phone number on the lease as yazikov1979@outlook.com and 727-999-
1227—the same phone number that SHUSHLEBIN used to pose as “Foster
Haugen” to call SOE in March of 2023. An Assistant Manager for the community
conducted the community orientation for Yazikov. During an interview on January
7, 2025, she identified the individual she knew as Yazikov as SHUSHLEBIN.

34. On March 2, March 12, and March 16, 2023, a community speed
camera recorded speeding violations by the vehicle registered to Yazikov at this
address. That vehicle bore license plate 42BLHI. DHSMV records reflect license

plate 42BLHI is registered to a gray 2022 Honda Ridgeline pickup truck, owned by

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SHUSHLEBIN. Postal records show that between March 11, 2023 and February 14,
2024, the following packages were received at 2532 Sandy Cay:
a. Ilya Yazikov — 15 packages
b. Ellen Siegel (another name from a voter registration application) — 1
package
c. Ilia Bzhelichenko — 2 packages
d. Weston Dyer - 7 packages
e. Ariel Elston - (another name from a voter registration application on
which JAMILOW’s fingerprint was found) — 1 package

35. Additionally, a search of SHUSHLEBIN’s iCloud revealed hundreds of
photographs of driver’s licenses in the names of other individuals, including many of
the same names used in the 132 fraudulent voter registration applications. Based on
my training and experience, I know that possession of numerous driver’s licenses in
different names is consistent with a variety of potential fraud schemes.

36. For one example, Ariel Elston is a name used on a voter registration
application. Her name, along with an address, date of birth, last four of a social
security number, country of birth (USA), email address, and telephone number was
on an application received by the SOE on February 21, 2023. SHUSHLEBIN’s
iCloud account contained the following examples of persistent use:

a. One photograph found was of a Caucasian woman holding a Michigan
driver license bearing her photo, the name Ariel Elston, and a date of

birth matching that on the voter application. Facial reco gnition

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determined that the Caucasian woman is likely a Russian theater
actress, with a different name and date of birth, who works at the
Baltiskii Dom theater in St. Petersburg, Russia.

b. What appears to be a forged social security card where the last four
digits match the last four listed on the voter registration.

c. Establishment and use of email addresses Elston.a@outlook.com,
elstonariel@mailo.one, elstonariel@yahoo.com, elston@mailo.one, and
arielelston81@gmail.com.

d. Establishment of accounts in her name at Bank of America and
American Express.

e. A purchase by Elston made at Amaro Dental and establishment of a
Sunbit dental loan to satisfy the purchase. The payment plan for this
loan was to begin on February 6, 2023, and end on January 6, 2026.

f. A $100 transfer to Ariel Elson from an account associated with email

address yazikov@mailo.one.

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CONCLUSION |
37. Based on the foregoing information, I respectfully su nit that probable
cause exists to believe that DMITRY SHUSHLEBIN and SANJAR JAMILOV have
conspired to submit false voter registrations, in violation of 18 U.S.C. § 371 and 52
U.S.C. §§ 20511 and 10307(c). Accordingly, I request issuance of the proposed
Complaint and Arrest Warrants.
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Damien Nagle Kraebel, US Postal Inspector
US Postal Inspection Service

Affidavit submitted to me by reliable electronic means and attested to me as true and
accurate by telephone or other reliable electronic means consistent with Fed. R. Crim.
P. 4.1 and 41(d)(3) before me this 3! day of February, 2025.

Dianne”
Arrontia fall Sari

HONORABLE AMANDA A. SANSONE
United States Magistrate Judge

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